    Case: 6:18-cv-00078-DCR Doc #: 12 Filed: 06/22/18 Page: 1 of 1 - Page ID#: 71



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                         (at London)

    UNITED STATES OF AMERICA,                        )
                                                     )
              Plaintiff,                             )       Civil Action No. 6: 18-078-DCR
                                                     )
    V.                                               )
                                                     )
    PATRICK BALCH, et al.,                           )                   ORDER
                                                     )
              Defendants.                            )

                                        ***    ***   ***   ***
         Attorney Christy J. Love has been appointed to serve as warning order attorney for

Defendant Unknown Spouse of Patrick Balch and has filed her report. [Record No. 11]

Having considered the matter and being sufficiently advised, it is hereby

         ORDERED as follows:

         1.        The Warning Order Report is hereby ACCEPTED, and attorney Love’s request

for an award of fees [Record No. 11] is GRANTED.

         2.        Attorney Love is relieved of any further duties as warning order attorney in this

action. It is further ORDERED that she be allowed an attorney fee of $200.00 and costs in

the amount of $18.25.

         This 22nd day of June, 2018.




                                                                                             




                                                 -1-
 
